                   IN THE UNITED STATE DISTRICT COURT
              FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                            WESTERN DIVISION

GRAHAM YATES and BECKY       )
YATES,                       )
                             )
                 Plaintiffs, )
                             )
                                 Civil Action No. 5:12-cv-00752-FL
      v.                     )
                             )
AIR & LIQUID SYSTEMS         )
CORPORATION, et al.,         )
                             )
                 Defendants. )
  FORD’S MOTION TO STRIKE, MOTION TO QUASH OR ENTER PROTECTIVE
    ORDER, AND MOTION FOR RECONSIDERATION OF ORDER AT D.E. 423
       Pursuant to Federal Rules of Civil Procedure 16, 26, 37, 45, and 60, Defendant Ford

Motor Company (“Ford”) hereby moves to strike Plaintiffs’ amended pre-trial disclosures, to

quash or enter a protective order against Plaintiffs’ newly-issued subpoena to Dennis

Paustenbach, and for reconsideration of its Order at D.E. 423 denying Ford’s motion to

quash/motion for protective order from Plaintiffs’ previously-issued subpoenas to Richard

Schlenker, Mark Garavaglia, and Patrick Sheehan for the reasons set forth in its

contemporaneously-filed Memorandum In Support.

       This the 12th day of June, 2015.




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                           SMITH, ANDERSON, BLOUNT, DORSETT,
                             MITCHELL & JERNIGAN, L.L.P.

                           By:   /s/ Addie K.S. Ries
                                 Kirk G. Warner
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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 12, 2015, I electronically filed the foregoing pleading with

the Clerk of the Court using the CM/ECF system which will send notification of such filing to

the following:

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                                            SMITH, ANDERSON, BLOUNT, DORSETT,
                                              MITCHELL & JERNIGAN, L.L.P.


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                                                    Attorneys for Ford Motor Company




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